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                  EXHIBIT 1
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                          United States District Court
                         Southern District of New York

VIRGINIA L. GIUFFRE,

            Plaintiff,                            CASE NO:


v.

ALAN DERSHOWITZ,


            Defendant.

________________________ /


                                  COMPLAINT




                                           Boies Schiller Flexner LLP
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        Plaintiff, VIRGINIA L. GIUFFRE, formerly known as Virginia Roberts (“Roberts”), for

her Complaint against Defendant, Alan Dershowitz (“Dershowitz”) avers upon personal

knowledge as to her own acts and status and upon information and belief and to all other matters:

                                  NATURE OF THE ACTION

        1.     This suit arises out of Defendant’s defamatory statements of and concerning

Plaintiff.

        2.     During 2000-2002, beginning when Plaintiff was 16, Plaintiff was the victim of

sex trafficking and abuse by convicted sex offender Jeffrey Epstein.

        3.     Epstein’s trafficking scheme involved recruiting young girls, often by claiming

they would be paid $200 for simply providing a massage to a wealthy billionaire. The young girl

would then be brought up to Epstein’s bedroom where Epstein would be on a massage table;

Epstein would then sexually abuse the girl. This same pattern was repeated numerous times with

numerous children.

        4.      “From between 1999 – 2007, Jeffrey Epstein sexually abused more than 30 minor

girls…in his mansion in Palm Beach Florida, and elsewhere in the United States and overseas…

In addition to his own sexual abuse of the victims, Epstein directed other persons to abuse the

girls sexually. Epstein used paid employees to find and bring minor girls to him. Epstein

worked in concert with others to obtain minors not only for his sexual gratification, but also for

the sexual gratification of others.” United States District Court Judge Marra February 21, 2016

Summary Judgement Order at 2, Case No.: 9:08-cv-80786 (internal citations omitted). One of

the persons with whom Epstein acted in concert was Dershowitz.

        5.     Like other minor children who came before and after her, Plaintiff was initially

recruited to provide massages, and thereafter to engage in a variety of sexual acts, for Epstein.



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Plaintiff was required to be on call for Epstein for sexual purposes and frequently traveled with

him both nationally and internationally. Plaintiff was regularly abused by Epstein and was lent

out by Epstein to others for sexual purposes.

        6.      Defendant Dershowitz was Epstein’s attorney, close friend, and co-conspirator.

Dershowitz was also a participant in sex trafficking, including as one of the men to whom

Epstein lent out Plaintiff for sex.

        7.      When Epstein was arrested for sex trafficking in 2006, Dershowitz defended his

friend and client by falsely attacking the veracity of his accusers, including calling the children

whom Epstein had abused (and, in the case of Plaintiff, the Defendant himself had also abused),

liars and prostitutes.

        8.      Despite his significant criminal activity, Epstein’s criminal charges were resolved

by a guilty plea to a single Florida state law charge and a non-prosecution agreement (a “NPA”)

with the U.S. Attorney for the Southern District of Florida. Unknown to the public and the

victims at the time, Epstein’s lawyers, including Dershowitz, were pressuring the Government to

commit to the NPA without informing the victims. Epstein’s multiple victims, including

Roberts, were kept in the dark and told to be “patient” while Dershowitz participated in the

drafting of the NPA and worked to protect Epstein and other “potential co-conspirators”

(including himself) from prosecution.

        9.      On July 7, 2008, a challenge to the NPA was brought on behalf of two of

Epstein’s victims (not including Plaintiff) based on the fact that, contrary to the requirements of

the Criminal Victims’ Rights Act (the “CVRA”), the NPA had been concealed from Epstein’s

victims.




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       10.     In December 2014, Roberts, who had not initially been part of the CVRA action,

was asked to, and did, provide information to Plaintiffs’ counsel in the CVRA case in which she

discussed her sex trafficking by Epstein. On December 31, 2014, Plaintiff’s counsel in the

CVRA proceeding (Brad Edwards and Paul Cassell) filed a Motion Pursuant to Rule 21 for

Joinder in the Action (“Joinder Motion”) on behalf of Roberts. Ms. Roberts’s joinder motion

described how she had been sexually trafficked by Jeffrey Epstein and was forced to have sex

with, among others, Alan Dershowitz.

       11.     Based on Plaintiff’s December 2014 filing, Dershowitz, as he had previously done

to Epstein’s victims, publically and viciously attacked plaintiff’s counsel in the CVRA actions,

Brad Edwards and Paul Cassell. Dershowitz, in nationally televised news interviews, wrongfully

claimed that Edwards and Cassell had engaged in unethical behavior warranting disbarment for

filing the Joinder Motion that described Dershowitz’s involvement with Epstein and Roberts.

Edwards, who is a prominent attorney for sexually abused women and children, and Cassell who

is a former United States District Court judge who left the bench to advocate for criminal

victims, sued Dershowitz for defamation. Edwards and Cassell asserted that the factual

allegations that Dershowitz had knowledge of and participated in Epstein’s criminal conduct

were entirely proper and well founded and that Dershowitz’s statements about Edwards and

Cassell were defamatory.

       12.     In April 2016 Dershowitz settled the Edwards and Cassell defamation claims

against him. As a condition of the settlement, Dershowitz required that the financial terms of the

settlement be kept confidential.

       13.     In November 2018, after conducting a lengthy investigation that involved

interviewing over eighty (80) women, the Miami Herald published the first in a series of articles



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exposing how Epstein and his lawyers had corrupted the legal system to obtain the NPA and

referring to Dershowitz’s sexual abuse of Roberts. Dershowitz’s response on behalf of himself

and his client and co-conspirator Epstein has been a desperate barrage of false and increasingly

defamatory attacks on Roberts. The purpose and effect of these attacks has been to damage

Robert’s reputation and credibility and to try to intimidate her into silence.

       14.     Defendant’s central assertion is that Roberts has committed perjury, and that in

December 2014, Roberts and her attorneys hatched a scheme to falsely accuse Dershowitz of sex

trafficking as part of a criminal attempt to extort a settlement from another party.

       15.     As Defendant and Epstein well knew, Dershowitz’s assertion was false.

Dershowitz and Epstein knew that Dershowitz had in fact had sex with Plaintiff. Dershowitz and

Epstein also knew that Roberts’s assertions about Dershowitz were not part of any criminal

extortion plot. Indeed, Dershowitz and Epstein knew that Roberts had identified Dershowitz as a

sexual predator years before December 2014.

       16.     Defendant’s knowledge of the falsity of his attacks on Roberts have not, however,

limited the scope or scale of those attacks.

       17.     Examples of Dershowitz’s knowingly false and malicious defamatory statements

made on behalf of himself and Epstein are:

               (a)     November 28, 2018: “the story was 100% flatly categorically made up” and

               “Roberts and her attorneys fabricated the assertion in order to get money from other

               powerful, wealthy people”. (Exhibit 1, p. 8).

               (b)     December 1, 2018: “I never met Roberts; I never had sex with her; she

               simply made up the entire story for money”. (Exhibit 2).




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               (c)     December 2, 2018: “I was ‘deliberately framed for financial reasons’”;

               Roberts made her claims about Dershowitz “in order to obtain money from a

               wealthy businessman and that Roberts had never previously included me among

               the people with whom she claimed to have had sex”; “one of Roberts’ own lawyers

               has acknowledged in front of witnesses that Roberts claims against me are ‘wrong’

               ‘simply wrong’”; “I never met Roberts; I never had sex with her; she simply made

               up the entire story for money”. (Exhibit 3).

               (d)     December 4, 2018: Plaintiff is a “certified, complete, total liar”; “I can prove

               conclusively that she made the whole thing up”. At the same time Dershowitz

               claimed “that the FBI recognized the evidence showed he was not where she said

               he was”. (Exhibit 4).

               (e)     December 5, 2018: “Roberts made up the accusations out of whole cloth in

               order to obtain millions of dollars from Leslie Wexner” and “there is evidence that

               directly proves I was framed. These include emails between Roberts and a

               journalist, a book manuscript by Roberts and a legal brief that are smoking guns

               showing that I was deliberately framed for financial reasons.” (Exhibit 5).

               (f)     March 2, 2019: “My perjuring accusers are Virginia Roberts and Sarah

               Ransome [who reported that Epstein lent her out to Dershowitz for sex at the same

               time as Dershowitz was, at Epstein’s request, representing Ransome as her lawyer].

               Both have long records of lying”. (Exhibit 6).

       18.     Dershowitz and Epstein knew Dershowitz’s assertions about Roberts, including

his assertions referenced in paragraph 17 above, were, and would be taken by persons who read

and heard them to be, specific statements of fact.



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        19.     Dershowitz has repeatedly, publically claimed that he wanted to have a trial that

would determine the facts concerning his conduct. He said on national television that he would

waive the statute of limitations so that Roberts could sue him for sex abuse. However, when

Robert’s counsel asked Dershowitz to do so, Dershowitz refused -- and continues to refuse.

        20.     Similarly, when Dershowitz was faced with an actual case brought by Edwards

and Cassell which would have determined the veracity of Roberts’ claims, Dershowitz settled to

avoid that determination.

        21.     More recently, Dershowitz, perhaps believing that Roberts who is now living with

her husband and children in Australia would not be prepared to engage in litigation, has again

taken to claiming publically that he demands a trial on the question of whether Roberts

committed perjury and made up her statements about him for money. For example on March 2,

2019: My “accusers are Virginia Roberts and Sarah Ransome…I hereby accuse my false

accusers of committing the felony of perjury and challenge them to sue me for defamation.”

(Exhibit 6).

        22.     Mr. Dershowitz now has what he claims to have been looking for.

                                  JURISDICTION AND VENUE

        23.     This is an action for damages in an amount in excess of the minimum

jurisdictional limits of this Court.

        24.     This Court has jurisdiction over this dispute pursuant to 28 U.S.C. §1332

(diversity jurisdiction) in that Roberts and Dershowitz are citizens of different states and the

amount in controversy exceeds seventy-five thousand ($75,000), exclusive of interest and costs.

        25.     This Court has personal jurisdiction over Defendant. Defendant resides in New

York City; Defendant conducts regular business in New York City; and this action arose,



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defamatory statements were made, and abuse occurred, within the Southern District of New

York.

        26.    Venue is proper in this Court as (a) the cause of action arose within the

jurisdiction of this Court and (b) Defendant resides within this District.

                                             PARTIES

        27.    Plaintiff is an individual who is a citizen of the State of Florida and a resident of

Australia.

        28.    Defendant Dershowitz is an individual who resides in the Southern District of

New York at 2 Tudor City Place Apt. 10EN, New York, New York 10017.

        29.    Jeffrey Epstein is an individual who resides in the Southern District of New York

at 9 East 71st Street, New York, New York, 10021.

                                       FACTUAL ALLEGATIONS

A.      Epstein’s Sex Trafficking Enterprise

        30.    Plaintiff became a victim of sex trafficking and repeated sexual abuse after being

recruited by Ghislaine Maxwell and Jeffrey Epstein when Plaintiff was under the age of

eighteen.

        31.     Between 2000 and 2002, Epstein sexually abused Roberts at numerous locations

including his mansions in West Palm Beach, Florida, New Mexico, the Virgin Islands, and this

District. Epstein also flew Roberts on his plane nationally and internationally numerous times

when she was under the age of 18. Only portions of the flight logs of Epstein’s private planes

are yet known, and Epstein also flew Roberts frequently on commercial airlines to meet him and

others. However, the chart below which shows Roberts’ flights on Epstein’s private plane from

the limited logs that are available illustrates the international scope of Epstein’s sex trafficking.



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       32.     Between 1999 and 2007, with the assistance of numerous co-conspirators, Epstein

abused more than thirty (30) minor underage girls, a fact confirmed by state and federal law

enforcement.

       33.     After years of abuse, Epstein sent Roberts to Thailand in September 2002. One of

Roberts’ assignments from Epstein was to bring a young girl back to Epstein in the United

States. Fearing for her life, and not wanting to subject another young girl to the abuse she was

forced to endure, Roberts fled from Thailand to Australia to escape from Epstein.

B.      Dershowitz’s Role with Epstein and Abuse of Plaintiff

       34.     Dershowitz has been “a close friend of Mr. Epstein” for many years. (Exhibit 7).

In 2003, Dershowitz said “I’m on my 20th book… The only person outside of my immediate

family that I send drafts to is Jeffrey.” “The Talented Mr. Epstein.” Vanity Fair 2003. (Exhibit

8). Dershowitz also described Epstein as his friend “I would be interested in him [Epstein] as a

friend if we had hamburgers on the boardwalk in Coney Island and talked about his ideas.”

“Vanity Fair Reminds US When Jeffrey Epstein Wasn’t a Creep.” The Atlantic Wire. June 21,

2011. Dershowitz frequently traveled with Epstein, including on Epstein’s private plane. In

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addition, Epstein’s employees have confirmed that Dershowitz visited Epstein’s Palm Beach and

New York City mansions often, would stay overnight, and was present when the victims of

Epstein’s sex trafficking were there. Dershowitz also visited Epstein’s other homes.

       35.     In addition to their close friendship, Dershowitz represented Epstein as his

attorney. On or about December 2, 2018, Dershowitz stated that he is still Epstein’s attorney

(Exhibit 9).

       36.     During the time period that Roberts was being trafficked by Epstein she was

forced to have sex with Alan Dershowitz. Roberts was forced to engage in sexual acts with

Dershowitz in, among other locations, Epstein’s mansion located at 9 East 71st Street, New York,

New York 10021.

C.      The Arrest and Prosecution of Epstein

       37.     Epstein ultimately pled guilty to procuring a minor for prostitution, and is now a

registered sex offender.

       38.     In September 2007, Epstein entered into a Non-Prosecution Agreement (“NPA”)

in which the U.S. Attorney for the Southern District of Florida agreed not to prosecute Epstein

for numerous federal sex crimes committed in that District.

       39.     In the NPA, the United States Attorney for the Southern District of Florida

additionally agreed that it would not institute any federal criminal charges against any potential

co-conspirators of Epstein.

       40.     Epstein flippantly referred to his sexual abuse of multiple minors, and the slap on

the wrist he had received for it, in a 2011 interview with the New York Post: “Billionaire pervert

Jeffrey Epstein is back in New York City – and making wisecracks about his just-ended jail stint

for having sex with an underage girl. ‘I am not a sexual predator, I’m an “offender,”’ the



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financier told The Post yesterday. “‘It’s the difference between a murderer and a person who

steals a bagel,’ said Epstein.” February 25, 2011, New York Post “Billionaire Jeffrey Epstein:

I’m a Sex Offender Not A Predator”.

D.      The Criminal Victims’ Rights Act Proceeding

       41.     Rather than confer with the victims about the NPA, the U.S. Attorney’s Office

and Epstein, who was represented by Dershowitz at that time, agreed to a “confidentiality”

provision in the Agreement barring its disclosure to anyone—including Epstein’s victims. As a

consequence, the victims were not told about the NPA.

       42.     On July 7, 2008, a young woman identified as Jane Doe No. 1, one of Jeffrey

Epstein’s victims (other than Roberts), filed a petition to enforce her rights under the Crime

Victims’ Rights Act (“CVRA”), 18 U.S.C. ¶ 3771, alleging that the Government failed to

provide her the rights promised in the CVRA with regard to the plea arrangement with Epstein.

       43.     On February 21, 2019, the Court found that the victims’ rights had been violated

and granted summary judgment in favor of the victims finding: “It was a material omission for

the Government to suggest to the victims that they have patience relative to an investigation

about which it had already bound itself not to prosecute.” Order at 31. In its Order the Court

acknowledged that: “Jeffrey Epstein sexually abused more than 30 minor girls”. The Court also

found: “Among other provisions, the NPA expanded immunity to any ‘potential coconspirator’

of Epstein’s: ‘In consideration of Epstein’s agreement to plead guilty and to provide

compensation in the manner described above, if Epstein successfully fulfills all of the terms and

conditions of this agreement, the United States also agrees that it will not institute any criminal

charges against any potential co-conspirators of Epstein, including but not limited to Sarah

Kellen, Adriana Ross, Lesley Groff or Nadia Marcinkova… From the time the FBI began



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investigating Epstein until September 24, 2007 – when the NPA was concluded – the Office

never conferred with the victims about a NPA or told the victims that such an agreement was

under consideration.” Order at 2, 8.

E.       Victims Refuse Silence

         44.   Ultimately, as a mother and one of Epstein’s many victims, Roberts concluded

that she should speak out about her sexual abuse experiences in hopes of helping others who had

also suffered from sexual trafficking and abuse, and of possibly protecting future potential

victims.

         45.   On December 23, 2014, Roberts incorporated an organization called Victims

Refuse Silence, Inc., a Florida not-for-profit corporation.

         46.   Roberts intended Victims Refuse Silence to change and improve the fight against

sexual abuse and human trafficking. The goal of her organization was, and continues to be, to

help survivors surmount the shame, silence, and intimidation typically experienced by victims of

sexual abuse, and to help others to escape becoming victims of sex trafficking.

F.       Defendant Acted Maliciously to Defame, Discredit, and Intimidate Roberts

         47.   Dershowitz made his false and defamatory statements as set forth above on behalf

of himself and on behalf of his co-conspirator and client Epstein, in the Southern District of New

York and elsewhere, in a deliberate effort to maliciously discredit Roberts and silence her efforts

to expose the sexual abuse she suffered. Dershowitz and Epstein did so with the purpose and

effect of having others repeat such false and defamatory statements and thereby further

damaged Roberts’s reputation. Dershowitz and Epstein knew Dershowitz’s statements were

false.




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       48.     Dershowitz made his statements to discredit Roberts in concert with Epstein and

others, including Ghislaine Maxwell, one of Epstein’s long-time procurers, as part of a

conspiracy to discredit and try to silence Roberts. Epstein was particularly interested in

discrediting and silencing Roberts because he feared a reopening of a federal criminal

investigation of him.

       49.     Dershowitz made his statements pursuant to his conspiracy with Epstein and

Maxwell maliciously as part of an effort to conceal sex trafficking crimes committed around the

world by Epstein and other powerful persons.

       50.     Dershowitz and Epstein intended Dershowitz’s false and defamatory statements

set out above to be broadcast around the world and to intimidate and silence Roberts from

making further efforts to expose sex crimes committed by Epstein and other powerful persons,

including Dershowitz.

       51.     Dershowitz and Epstein intended their false statements to be specific statements

of fact. Dershowitz’s false statements were, as he and Epstein intended, broadcast around the

world and were reasonably understood by those who heard them to be specific factual claims by

Dershowitz that he had not had sex with Roberts, that Roberts was intentionally lying about

having sex with Dershowitz, that Roberts committed the crime of perjury, that Roberts had

committed the crime of extortion, and that Roberts had intentionally fabricated her assertions

about Dershowitz to extort money from others.

       52.     Epstein also worked with other of his attorneys to attack Roberts’ allegations,

including in a false statement they made in a letter to the editor to the New York Times asserting:

“The number of young women involved in the investigation has been vastly exaggerated, there




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was no ‘international sex-trafficking operation’ and there was never evidence that Mr. Epstein

‘hosted sex parties’ at his home”. (Exhibit 10).

G.     Dershowitz’s Lies

        53.    From the beginning, Dershowitz and Epstein have sought to hide their crimes

behind a curtain of lies. In response to Roberts’ description of Dershowitz’s participation in

Epstein’s sex trafficking, Dershowitz began a series of intentional, outright lies designed to

distance himself from Epstein, to cover up his own wrongdoing, and to discredit Roberts and

intimidate her into silence.

       54.     Dershowitz’s repeated lies are compelling evidence both of his lack of credibility

and his guilt. Only a person seeking to conceal improper conduct would have engaged in the

pattern of lies which has characterized Dershowitz’s statements since his sex trafficking was

revealed.

       55.     In attempt to conceal his relationship with Epstein, Dershowitz in January 2015

asserted that “my relationship with him was entirely professional. It is a total bum rap to say that

I…was ‘chummy’ with him”. (Exhibit 11). That was a lie, as Dershowitz and Epstein knew (see,

e.g., paragraphs 34-35).

       56.     Both to conceal Dershowitz’s relationship with Epstein, and to discredit Roberts,

Dershowitz has repeatedly asserted that he was only at Epstein’s residence once in Palm Beach,

and that was with his family. However, Juan Alessi, a long time Epstein household employee,

has confirmed that Dershowitz visited Epstein “pretty often. I would say at least four or five

times a year” and that he would “typically” stay two or three days. Similarly, Alfredo Rodriguez

who worked for Epstein approximately only six months confirmed that during that six months

period Dershowitz visited Epstein twice.



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        57.   Again, both to conceal his relationship with Epstein and to discredit Roberts,

Dershowitz has repeatedly asserted that he was never in Epstein’s residence in the presence of

young women. As both Dershowitz and Epstein know, that assertion was also false. As Mr.

Rodriguez has confirmed, there were “also young ladies in the house at the time he [Dershowitz]

was there”. Mr. Rodriguez also confirmed that “Mr. Dershowitz was there” when “women came

to Mr. Epstein’s home to give a massage”. Mr. Rodriguez also confirmed that “Alan Dershowitz

was at the house” with “the local Palm Beach girls” who he was “told to call masseuses”,

although he did not himself know whether or not Dershowitz personally received a massage.

        58.   Maria Farmer was an employee of Epstein responsible for “manning the front

door at his New York mansion and keeping records of people who came to the home” (Exhibit

12, ¶ 2).

              (a)     Ms. Farmer “witnessed a number of school age girls coming to the house,

              some of the young girls would be wearing their school uniforms”…who “then

              would be escorted upstairs” (Exhibit 12, ¶ 3).

              (b)     Ms. Farmer was told these young girls “were interviewing for modeling

              positions” even though “it did not seem credible to me that these young girls were

              interviewing for modeling positions”. (Exhibit 12, ¶ 3).

        59.   Ms. Farmer asserts that “Alan Dershowitz was an individual who came to visit

Epstein at his New York mansion a number of times when I was working for Epstein.

Dershowitz was very comfortable at the home and would come in and walk upstairs. On a

number of occasions I witnessed Dershowitz at the NY mansion going upstairs at the same time

there were young girls under the age of 18 who were present upstairs in the house” (Exhibit 12, ¶

4).



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       60.     Ms. Farmer, like other victims of, and witnesses to, Epstein and Dershowitz’s sex

trafficking and abuse has been subjected to attacks and intimidations. (Exhibit 12, ¶¶ 8-9). Her

courageous testimony, together with the sworn testimony of victims such as Sarah Ransome and

witnesses such as Mr. Alessi and Mr. Rodriguez , proves beyond any doubt that Dershowitz’s

claims that he was never present where Ms. Roberts was trafficked, and never in the presence of

young girls, are a lie intended to cover up his culpability.

       61.     Again both to conceal his relationship with Epstein and to discredit Roberts,

Dershowitz has repeatedly asserted that he has records that prove that it would have been

“impossible” for him to be with Roberts because he was never in the same place and time as

Roberts. As both Dershowitz and Epstein know, that too was a lie. The testimony of Epstein’s

household staff establishes that Dershowitz was repeatedly at Epstein’s residence. Even

Dershowitz’s own selected, incomplete, and apparently revised, records demonstrate that

Dershowitz was present at locations where Ms. Roberts was with Epstein.

       62.     Dershowitz’s assertion that Roberts accused him of having sex with her only after

her lawyers convinced her to do so in late 2014 is not only false, as both Dershowitz and Epstein

knew, but thoroughly disproved by the record.

       63.     Roberts had identified Dershowitz as a participant in her sexual abuse at the time

it occurred. She did so again in 2009. In 2010 Epstein’s co-conspirators were repeatedly asked

about Dershowitz. For example:

               (a)     Adriana Ross refused to answer on Fifth Amendment grounds whether

               “Alan Dershowitz stays at Jeffrey Epstein’s house…when underage minor

               females have been in the bedroom with Jeffrey Epstein”.




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               (b)    Nadia Marcinkova refused to answer on Fifth Amendment grounds:

               “Alan Dershowitz is also somebody that you also know to have been at the house

               when L.M. was being sexually abused in Jeffrey Epstein’s bedroom, correct?”

       64.     In 2011 Counsel for Edwards wrote Dershowitz:

               (a)    On August 23, 2011: “We…have reason to believe that you have

               personally observed Jeffrey Epstein in the presence of underage females”.

               (b)    On September 7, 2011: “Multiple individuals have placed you in the

               presence of Jeffrey Epstein on multiple occasions and in various locations when

               Jeffrey Epstein was in the company of underage females subsequently identified

               as victims of Mr. Epstein’s criminal molestations.”

       65.     Dershowitz lied and stated that he had never flown on Jeffrey Epstein’s plane

with a young woman and always flew with his wife. (Hala Gorani, CNN Live, Jan. 5, 2015).

However, even the limited publically available flight logs of Jeffrey Epstein’s private plane

demonstrate that Dershowitz flew often on Epstein’s planes without his wife; with young

women, including a Victoria’s Secret model; Epstein’s procurer Ghislaine Maxwell; and Sarah

Kellen who was identified by the Government as Epstein’s co-conspirator in his sex trafficking.

       66.     Dershowitz also lied by saying that he “never” got a massage from anybody: “I

never got a massage from anybody. It’s made up out of whole cloth.” (NY Daily News, January

21, 2015). However, after it was revealed that Epstein’s household staff identified Dershowitz as

one of the recipients of “massages” at Epstein’s Palm Beach mansion, Dershowitz changed his

story and admitted he got a massage at Epstein’s Palm Beach home but claimed: “I kept my

underwear on during the massage.” (Local 10, January 22, 2015).




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       67.     Dershowitz lied and said he never saw any naked pictures of females in Epstein’s

Palm Beach home during his many visits, yet the police footage that was obtained from the

search of Epstein’s home proves that there were naked pictures of females throughout the home

including in the common areas.

       68.     In a desperate attempt to deflect attention from his own misconduct, Dershowitz

fabricated an extortion plot by Roberts and her lawyers. Dershowitz falsely told the media that

he was being used as a pawn as part of a fanciful plan to extort money from a billionaire business

mogul and colleague of Epstein. Dershowitz’s claim was that he was framed in order to send a

message to the billionaire that this is what would happen to the billionaire if the billionaire did

not pay Roberts and her attorneys. As Dershowitz knew:

               (a)     No complaint was ever made against the billionaire.

               (b)     No money was either paid or demanded by or from the billionaire.

               (c)     Roberts’ assertions about Dershowitz long predated the time of the alleged

               extortion plot.

       69.     Dershowitz also falsely claimed that Roberts’ lawyer had told him that he had

concluded that Roberts was “wrong” and “simply wrong” in accusing Dershowitz. Dershowitz,

in violation of the canons of ethics and in at least one case in violation of state law, had

surreptitiously tape recorded confidential settlement negotiations he had engaged in with Ms.

Roberts’ lawyer. Dershowitz then played and described excerpts from those tapes out of context

to reporters to try to make it appear that Ms. Roberts’ lawyer’s hypothetical comments, and

characterizations of Dershowitz’s assertions, represented that lawyer’s conclusions. As the sworn

testimony (Exhibit 13) of Dershowitz’s own lawyer, and the facts set forth below, demonstrate,

Dershowitz’s assertions about what Ms. Roberts’ lawyer said are, again, false.



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       70.     In May 2015 Dershowitz requested confidential settlement negotiations with Ms.

Roberts’ lawyers in which Dershowitz sought to convince Ms. Roberts lawyer that Ms. Roberts

was mistaken, and that the person to whom Epstein had lent Ms. Roberts was Nathan Myhrvold,

not Dershowitz. Dershowitz claimed that he had been at Epstein’s home only once (and that he

was there with his family); that he had never been in the vicinity of Epstein’s island; that he had

not been at Epstein’s New York mansion; and that he had been at Epstein’s New Mexico ranch

only once for a few hours (again with his family). Dershowitz provided a summary of his

whereabouts that purported to prove that his assertions were true.

       71.     Dershowitz was told that, based on what was shown in his summary, it would

have been impossible for Ms. Roberts’ assertions about him to be true, and that if his assertions

proved out, Ms. Roberts counsel would undertake to convince her that she must have made a

mistake.

               (a)     Dershowitz was also told, however, (i) that his assertions would have to be

               proven, (ii) that Ms. Roberts had always been very clear that she recalled having

               had sex with Dershowitz multiple times, and (iii) that everyone was convinced

               that Ms. Roberts was telling the truth as she recalled it.

               (b)     Dershowitz responded that he did not doubt that Ms. Roberts was telling

               the truth as she recalled it and that she would have no difficulty passing a lie

               detector test. He said he simply believed Ms. Roberts had made an honest mistake

               in confusing him with Nathan Myhrvold.

       72.     Following Dershowitz’ presentations, Dershowitz’s representations were

investigated and repeatedly proven false.




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               (a)    Dershowitz’s alleged backup for his travel summary proved to be

               incomplete and in some instances apparently altered.

               (b)    Dershowitz’s key claim that he had not stayed at Epstein’s house was

               proven false, including by the testimony of Epstein’s household employees Juan

               Alessi (see ¶ 56 above) and Alfredo Rodriguez (see ¶¶ 56-57 above) as well as the

               testimony of Sarah Ransome (Exhibit 14) and Maria Farmer (Exhibit 12).

               (c)    Dershowitz’s claim that Ms. Roberts confused him with Nathan Myhrvold

               was tested by showing Ms. Roberts pictures of both. She was, and is, clear that it

               was Dershowitz, not Myhrvold, with whom she had sex.

               (d)    Dershowitz’s claim he had never been on Epstein’s plane without his wife

               was proven false by plane logs.

               (e)    Dershowitz’s claim that he had never seen pictures of young females at

               Epstein’s house was proven false by Palm Beach police and FBI reports.

               (f)    Dershowitz’s claim that he had never been in the presence of young

               females was proven false by the testimony of Epstein’s household employer (see

               ¶¶56-57) and of young women themselves (see Exhibit 14 [Ransome] and Exhibit

               12 [Farmer].)

       73.     After Dershowitz’s claimed proof of exonerating evidence collapsed, and the

evidence of his guilt grew, Roberts’ lawyer’s told Dershowitz in writing that they “had

discovered evidence inconsistent with some of [your] representations”, that his travel “records

were incomplete”, and that he “should have settled the case when he had a chance”.

       74.     Roberts’ lawyer explicitly told Dershowitz that neither Roberts nor her lawyer

would make any statement saying or implying that Roberts was mistaken in her charge that



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Dershowitz participated in her sexual trafficking and abuse. In his public statements, Dershowitz

conspicuously omits any reference to the statements by Roberts’ lawyers after they had

investigated his representations and concluded that they were false.

        75.     Faced with the mounting evidence of his guilt, Dershowitz abandoned his attempt

to get Roberts or her lawyer to concede a mistake or that Roberts had been wrong, and

desperately sought even a suggestion that an error was “possible”.

        76.     In December 2015 Ms. Roberts’ counsel again told Mr. Dershowitz that “Virginia

is adamant about her current recollection” and that neither Ms. Roberts nor her counsel believed

she was mistaken in identifying Mr. Dershowitz as one of the men to whom Epstein had lent her

out for sex. In response, Mr. Dershowitz did not claim that Ms. Roberts lawyers had told him

that they did not believe her.

        77.     Instead, the morning of December 9, 2015, Mr. Dershowitz pleaded: “David,

Have we given up on a mutually acceptable statement from VR or you. Let’s keep trying. We are

not that far apart.” (Exhibit 15). When Ms. Roberts lawyer did not immediately respond, Mr.

Dershowitz wrote later the same day:

                “We should be aiming at a short simple statement such as: “The

                events at issue occurred approximately 15 years ago when I was a

                teenager. Although I believed then and continued to believe that AD

                was the person with whom I had sex, recent developments raise the

                possibility that this may be a case of mistaken identification.”

                (Exhibit 15).

Mr. Dershowitz went on to write: “It would be acceptable if the statement came from you rather

than her, if she prefers.” (Id.)



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       78.     Wholly absent at this point was any assertion by Mr. Dershowitz that Ms. Roberts

was lying, or that she made up her charge as part of an extortion claim, or that after investigating

his alleged evidence Ms. Roberts’ lawyer did not believe her. On the contrary, Mr. Dershowitz

expressly recognized that Ms. Roberts’ belief was an honest one. All Mr. Dershowitz was

pleading for was an acknowledgement that there was a “possibility” that there “may be” a case of

mistaken identification. Even that plea was rejected by Ms. Roberts and her lawyers as

misleading.

       79.     Dershowitz’s present PR claim that Roberts’ lawyers disbelieved their client, and

that Roberts intentionally committed perjury as part of an extortion scheme, is just another

Dershowitz lie. His reliance on statements taken out of context, his failure to include the

statements of Roberts’ lawyer after Dershowitz’s supposed evidence had been investigated, and

the damning admissions of his own lawyers, reveal Dershowitz’s total lack of support for his

allegation that Roberts and her lawyers concocted knowingly false allegation against him as part

of a supposed extortion plot.

       80.     Dershowitz also lied to attempt to deflect Sarah Ransome’s revelations about him.

Ms. Ransome revealed that during the time she was a victim of Epstein’s sex trafficking,

Epstein’s arranged for his lawyer, Dershowitz, to also represent Ms. Ransome. Ms. Ransome

also described how, during the time Dershowitz was her lawyer, Epstein lent her out to

Dershowitz for sex. (Exhibit 14).

       81.      Dershowitz asserted that he never had sex with Ms. Ransome, that he never

represented Ms. Ransome, that he did not even know Ms. Ransome, and that Ms. Ransome’s

statements about him were fabricated by Ms. Roberts’ lawyer in retaliation for a bar complaint

that Dershowitz had filed against that lawyer (Exhibit 16). However, as Dershowitz knew:



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               (a)    He did have sex with Ms. Ransome.

               (b)    He was Ms. Ransome’s lawyer.

               (c)    Ms. Ransome’s statements about her involvement with Dershowitz

               preceded any contact with Roberts’ attorneys. For example, Ransome’s first

               contact with any of Roberts’ lawyers was in November 2016, and at least as early

               as October 2016 Ransome had identified Dershowitz in writing to a reporter as

               someone who had had sex with one or more of the girls provided by Epstein and

               that Epstein had arranged for Dershowitz to be Ransome’s lawyer.

       82.     After settling the case against him brought by Messrs. Edwards and Cassell,

Dershowitz told the media he had been vindicated, while at the same time insisting that the term

of the settlement remains confidential. Edwards and Cassell responded: “Following the

announcement of the settlement of defamation claims against Alan Dershowitz, he has been

making public statements suggesting that he has prevailed in the lawsuit and that the terms of the

settlement exonerate him of any wrongdoing. Those statements are at best misleading. It is a

mistake for anyone to conclude based upon Mr. Dershowitz’s statements that the case against

him was abandoned due to lack of factual support. It is a mistake for anyone to conclude based

upon Dershowitz’s statements that Bradley Edwards and Paul Cassell had determined that the

allegations against Alan Dershowitz made by Virginia Roberts Giuffre were false or unfounded.

Neither the terms of settlement nor the agreed upon joint public statement issued as part of the

settlement support any such conclusion and it is false to state or suggest otherwise.” Dershowitz

Settles Sex Case, But is He Vindicated? The American Lawyer, April 10, 2016.

       83.     Dershowitz continues to this day to insist that the terms of his settlement with

Edwards and Cassell remain confidential -- a position that can only be explained by



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Dershowitz’s knowledge that revealing how much he had paid to avoid a trial of the allegations

against him would reveal his guilt.

        84.     As described above, Dershowitz has also repeatedly asserted that he wanted to

have a trial to establish his innocence. By contrast, he paid to settle the case that would have

provided that trial. He even lied about his being willing to waive the statute of limitations so that

Roberts could sue him for sex abuse -- a lie almost immediately exposed when he was promptly

asked to do so and, equally promptly refused.

                                    COUNT I DEFAMATION

        85.     Plaintiff Roberts re-alleges paragraphs 1 – 84 as if the same were fully set forth

herein. Dershowitz made his false and defamatory statements deliberately and maliciously with

the intent to intimidate, discredit and defame Roberts.

        86.     In December 2018, and thereafter, Dershowitz, on behalf of himself and Epstein,

intentionally and maliciously released to the press his false statements about Roberts in an

attempt to destroy Roberts’ reputation and brand her as a liar and cause her to lose all credibility

in her efforts to help victims of sex trafficking.

        87.     Dershowitz and Epstein knew that Dershowitz’s assertions would dilute, discredit,

and neutralize Roberts’s public and private messages to sexual abuse victims and ultimately

prevent Roberts from effectively providing assistance and advocacy on behalf of other victims of

sex trafficking, or expose her abusers.

        88.     Using his role as a powerful lawyer with powerful friends, Dershowitz’s

statements were published internationally for the malicious purpose of further damaging a sexual

abuse and sexual trafficking victim; to destroy Roberts’s reputation and credibility; to cause the




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world to disbelieve Roberts; and to destroy Roberts’s efforts to use her experience to help others

suffering as sex trafficking victims.

       89.        Dershowitz, personally, intentionally, and maliciously made false and damaging

statements of fact concerning Roberts, as detailed above, in the Southern District of New York

and elsewhere.

       90.        The false statements that Dershowitz made, personally on behalf of himself and

Epstein not only called Roberts’s truthfulness and integrity into question, but also exposed

Roberts to public hatred, contempt, ridicule, and disgrace.

       91.        At the time Dershowitz made his false statements, he and Epstein, knew full well

that they were completely false.

       92.        Dershowitz’s false statements constitute libel, as he and Epstein knew that they

were going to be transmitted in writing, widely disseminated on the internet and in print.

Dershowitz intended his false statements to be published by newspaper and other media outlets

internationally, and they were, in fact, published globally, including within the Southern District

of New York.

       93.        Dershowitz’s false statements constitute libel per se, including that they accused

her of a crime, and including that they exposed Roberts to public contempt, ridicule, aversion,

and disgrace, and induced an evil opinion of her in the minds of right-thinking persons.

       94.        Dershowitz’s false statements also constitute libel per se, inasmuch, among other

reasons, as they tended to injure Roberts in her professional capacity as the president of a non-

profit corporation designed to help victims of sex trafficking, and inasmuch as they destroyed her

credibility and reputation among members of the community that seeks her help and that she

seeks to serve.



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       95.     Dershowitz’s false statements directly stated and also implied that in speaking out

against sex trafficking Roberts acted with fraud, dishonesty, and unfitness for the task.

Dershowitz’s false statements directly and indirectly assert that Roberts lied about being sexually

trafficked and abused by Epstein and having sex with Dershowitz, and that Roberts committed

the crimes of perjury and extortion. Dershowitz’s false statements were reasonably understood

by many persons who read his statements as conveying that specific intention and meaning.

       96.     Dershowitz’s false statements were reasonably understood by many persons who

read those statements as making specific factual claims that Roberts was lying about specific

facts, and committed the crimes of perjury and extortion.

       97.     Dershowitz specifically directed his false statements at Roberts’ true public

description of factual events, and many persons who read Dershowitz’s statements reasonably

understood that those statements referred directly to Roberts’ account of the abuse she suffered at

the hands of Epstein and Dershowitz.

       98.     Dershowitz and Epstein intended Dershowitz’s false statements to be widely

published and disseminated on television, through newspapers, by word of mouth, and on the

internet. As intended by Dershowitz and Epstein, Dershowitz’s statements were published and

disseminated around the world.

       99.     Dershowitz made his false statements on behalf of himself and Epstein in reckless

disregard of their truth or falsity and with malicious intent to destroy Roberts’s reputation and

credibility; to prevent her from further disseminating her life story; and to cause persons hearing

or reading Roberts’s descriptions of truthful facts to disbelieve her entirely. Dershowitz made his

false statements on behalf of himself and Epstein wantonly and with the specific intent to

maliciously damage Roberts’s good name and reputation in a way that would destroy her efforts



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to administer her non-profit foundation, or share her life story, and thereby help others who have

suffered from sexual abuse.

        100.    As a result of Dershowitz’s and Epstein’s campaign to spread false, discrediting,

and defamatory statements about Roberts, Roberts suffered substantial damages in an amount to

be proven at trial.

        101.    Dershowitz’s false statements have caused, and continue to cause, Roberts

economic damage, psychological pain and suffering, mental anguish and emotional distress, and

other direct and consequential damages and losses.

        102.    Dershowitz’s and Epstein’s campaign to spread his false statements nationally and

internationally was unusual and particularly egregious conduct. Dershowitz and Epstein sexually

abused and trafficked Roberts, conspired to avoid having these crimes properly prosecuted and

discovered, and wantonly and maliciously set out to falsely accuse, defame, and discredit

Roberts to deny and conceal the scope and scale of their crimes. In so doing, Dershowitz’s

efforts constituted a public wrong by deterring, damaging, and setting back Roberts’ efforts to

help victims of sex trafficking. Accordingly, this is a case in which exemplary and punitive

damages are appropriate.

        103.    Punitive and exemplary damages are necessary in this case to deter Dershowitz,

Epstein and others from wantonly and maliciously using a campaign of lies to discredit Roberts

and other victims of sex trafficking.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Roberts respectfully requests judgment against Defendant

Dershowitz, awarding compensatory, consequential, exemplary, and punitive damages in an




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amount to be determined at trial, but in excess of the $75,000 jurisdictional requirement; costs of

suit; attorneys’ fees; and such other and further relief as the Court may deem just and proper.

                                        JURY DEMAND

       Plaintiff hereby demands a trial by jury on all causes of action asserted within this

pleading.

Dated: April 16, 2019.


                                                     /s/ Joshua Schiller
                                                     Boies Schiller Flexner LLP
                                                     55 Hudson Yards
                                                     New York, NY 10001
                                                     (212) 446-2300

                                                     /s/ Sigrid McCawley
                                                     Sigrid McCawley
                                                     Boies Schiller Flexner LLP
                                                     401 E. Las Olas Blvd., Suite 1200
                                                      Ft. Lauderdale, FL 33301
                                                     (954) 356-0011
                                                     (Pro Hac To Be Filed)




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